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                                                                                                                                                                                    E x hi bit B

 A O 4 4 0 ( R e v . 0 6/ 1 2) S u m m o n s i n a C i vil A c ti o n


                                                         U N I T E D S T A T E S DI S T RI C T C O U R T
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C O/                                                                                                )
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                                           Pl ai ntiff( s)
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                                                                             S U M M O N S I N A C M L A C TI O N

T o: ( D ef e n d a nt 's n a m e a n d a d d r e s s)

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(;tJ rr e cl- 1 0 V J j                         So~                     IJ' j O   V                                                                   f_   m          Cl J/'j
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    5/ at: _k-f o n                               6 7 6{ 9                                                   I
               A l a w s uit h a s b e e n fil e d a g ai n st y o u.

             Wit hi n 2 1 d a y s aft er s er vi c e of t hi s s u m m o n s o n y o u ( n ot c o u nti n g t h e d a y y o u r e c ei v e d it ) - or 6 0 d a y s if y o u
ar e t h e U nit e d St at e s or a U nit e d St at e s a g e n c y, or a n offi c er or e m pl o y e e of t h e U nit e d St at e s d e s cri b e d i n F e d. R. Ci v.
P. 1 2 ( a)( 2) or ( 3 ) - y o u m u st s er v e o n t h e pl ai ntiff a n a n s w er t o t h e att a c h e d c o m pl ai nt or a m oti o n u n d er R ul e 1 2 of
t h e F e d er al R ul e s of Ci vil Pr o c e d ur e. T h e a n s w er or m oti o n m u st b e s er v e d o n t h e pl ai ntiff or pl ai ntiff s att or n e y,
w h o s e n a m e a n d a d dr e s s ar e:              /
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                                                                                                        C r q /)
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                                                             5/- ot:-l <f o n ;! < 5 t { 7 £ 6 7
                                                              c: o v eflt / l < o o K j
           If y o u f ail t o r e s p o n d, j u d g m e nt b y d e f a ult will b e e nt er e d a g ai n st y o u f or t h e r eli ef d e m a n d e d i n t h e c o m pl ai nt.
Y o u al s o m u st fil e y o ur a n s w er or m oti o n wit h t h e c o urt.



                                                                                                                     CLER K OF C O URT


 D at e:     _ s! J E J:i. o~ _                                                                                              _-- =.,,~ ~ u
                                                                                                                                    Si g n alll r e o,/ Cl e r k o r D e p ut y Cl e r k
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A O 4 4 0 ( R e v. 0 6/ 1 2) S u m m o n s i n a Ci v il Ac ti o n ( P a ge 2)

 Ci vil A cti o n N o.

                                                                                         P R O O F O F S E R VI C E
                               ( T his s e cti o n sll o ul d n ot b e fil e d witll t h e c o urt u nl ess r e q uir e d b y F e d. R. Civ. P. 4 (l))

                T his s u m m o n s f or (n a m e of i n divi d u al a n d title, ifa n y)              Jc >    /- 1 I J      l/ Al N C M A/./
 w as r e c ei ve d b y m e o n (d at e)                       I Q I Vftf c{          z o;z _.. 3

                0 I p er s o n all y s er v e d t h e s u m m o n s o n t h e i n di vi d u al at ( pl a c e)
                                                                                                            o n ( d at e)                                                        ;   or
              - - -- - -- - - - - -- - - - - - - --                                                                                   - - -- -- - --
                0 I l eft t h e s u m m o n s at t h e i n di vi d u al' s r esi d e n c e or us u al pl a c e of a b o d e wit h ( n a m e)
                                                                                   , a p ers o n of s uit a bl e a g e a n d di s cr eti o n w h o r e si d e s t h er e,
               - -- - -- - - -- - - - - - -
                                                                          , a n d m ail e d a c o p y t o t h e i n di vi d u al' s l ast k n o w n a d dr e s s; or
                o n ( d ate)
                                  - - - -- --
                                                                                                                                                                                               , w h o is
                0     I s er v e d t h e s u m m o ns o n            ( n a m e of i n di vi d u al)   J v( M. dt..         DI A Z.
                   d e si g n at e d b y l a w t o a c c e pt s er vi c e of pr o c ess o n b e h alf of ( n a m e of o r g a ni z ati o n)                         S- « x: J:. 7 0 N      l e 0 ¢,    C,
            (t t: o ~ A,t > B bl T c, ut:,-) (re >, <.·. 7t 2 H N                          LI N N Cl " ~ A N)         o n ( d at e) / 0 M A'i                2 P23               ; or
                                                                                                                                                                                                      ; or
                0 I r et ur n e d t h e s u m m o ns u n e x e c ut e d b e c a us e

               0      Ot h er (s p e cif y):



                                                                          f or tr a v el a n d $                             f or s er vi c es, f or a t ot al of $                       0. 0 0
               M y f e es ar e $


               I d e cl ar e u n d er p e n alt y of p erj u z y t h at t his i nf o n n ati o n


D at e:
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                                                                                                                                 P ri nt e d n a m e a n d titl e




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                                                           y   att e m pt e d s er vi c e, et c:
